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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 CIERRA WATKINS,

        Plaintiff,

 v.                                                                Case No:

 ONEMAIN FINANCIAL GROUP, LLC,

       Defendant.                                                  DEMAND FOR JURY TRIAL
 __________________________________/

                              PLAINTIFF’S COMPLAINT
                          WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, CIERRA WATKINS (“Ms. Watkins” or “Plaintiff”),

 by and through the undersigned counsel, and hereby sues and files this Complaint and

 Demand for Jury Trial with Injunctive Relief Sought against Defendant, ONEMAIN

 FINANCIAL GROUP, LLC (“Defendant”), and in support thereof states as follows:

                                                 Introduction

        1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

 Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

 Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

 such debt using an automatic telephone dialing system, artificial voice, or prerecorded

 message to call Ms. Watkins’ cellular telephone after Ms. Watkins demanded that

 Defendant stop calling her, which can reasonably be expected to harass Ms. Watkins.




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                                          Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case under 28

 U.S.C. §1331.

          3.      Jurisdiction of this Court also arises under Fla. Stat. § 559.77 (1).

          4.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), as a

 substantial part of the events or omissions giving rise to the claims occurred in this

 judicial district.

                                                       Parties

          5.      Plaintiff, Ms. Watkins, was and is a natural person and, at all times

 material hereto, is an adult, a resident of Hillsborough County, Florida, and a “debtor” or

 “consumer” as defined by Fla. Stat. § 559.55 (8).

          6.      Ms. Watkins is the “called party” as referenced in the TCPA, 47 U.S.C. §

 227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 813-***-2211 (“Ms.

 Watkins’ Cellular Telephone”).

          7.      At all times material hereto, Defendant was and is a corporation with its

 principle place of business in the State of MD and its registered agent, C T

 CORPORATION SYSTEM, located at 1200 South Pine Island Road, Plantation, FL

 33324.

                                              Statements of Fact

          8.      Ms. Watkins and her ex-husband co-signed for a personal loan with

 Defendant, which opened an account for their personal use (“Account”).

          9.      Ms. Watkins and her ex-husband thereafter divorced.




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        10.     Ms. Watkins’ ex-husband eventually defaulted on the Account and

 incurred an outstanding balance owed thereunder (“Debt”).

        11.     In or around May of 2018, Defendant began placing calls to Ms. Watkins’

 Cellular Telephone in attempts to collect the Debt.

        12.     Ms. Watkins spoke to a representative of Defendant in May of 2018 and

 explained that she was not responsible for her ex-husbands Debt so Defendant needed to

 stop calling Ms. Watkins’ Cellular Telephone and call Ms. Watkins’ ex-husband instead.

        13.     In response, the Defendant’s representative told Ms. Watkins that the calls

 to her Cellular Telephone will continue unless she pays the Debt.

        14.     On or around July 16, 2018, Ms. Watkins spoke to a representative of

 Defendant and again demanded that it stop calling her Cellular Telephone.

        15.      Despite Ms. Watkins’ repeated demands, Defendant has continued to

 place calls to Ms. Watkins’ Cellular Telephone in attempts to collect the Debt.

        16.     Defendant has called Ms. Watkins’ Cellular Telephone at least fifty (50)

 times from May 2018 to the present date.

        17.     Defendant has called Ms. Watkins’ Cellular Telephone the telephone

 number: 813-985-4511.

        18.     Defendant called Ms. Watkins Cellular Telephone up to four (4) times in a

 single day.

        19.     Defendant’s calls have harassed Ms. Watkins to the timing and frequency

 of Defendants call’s to Ms. Watkins’ Cellular Telephone.

        20.     All of Defendant’s calls to Ms. Watkins’ Cellular Telephone were placed

 in an attempt to collect the Debt.


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              Count 1: Violation of the Telephone Consumer Protection Act

        21.      Ms. Watkins re-alleges paragraphs 1-20 and incorporates the same herein

 by reference.

        22.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

 227 (b) (1) prohibits any person

                         (A) to make any call (other than a call made for
                         emergency purposes or made with the prior express
                         consent of the called party) using any automatic
                         telephone dialing system or an artificial prerecorded
                         voice – (iii) to any telephone number assigned to a
                         paging service, cellular telephone service, . . . or
                         any service for which the called party is charged for
                         the call.

        23.      Ms. Watkins revoked consent to have Defendant call her Cellular

 Telephone by the use of an automatic telephone dialing system (“ATDS”) or artificial

 voice or prerecorded message in or around May of 2018 when she expressly told

 Defendant to stop calling her and that she did not owe a debt.

        24.      Ms. Watkins revoked consent again for Defendant to call her Cellular

 Telephone on or around July 16, 2018.

        25.      Despite Ms. Watkins’ revocations of consent, Defendant thereafter called

 Ms. Watkins’ Cellular Telephone at least fifty (50) times.

        26.      Defendant did not place any emergency calls to Ms. Watkins’ Cellular

 Telephone.

        27.      Defendant willfully and knowingly placed non-emergency calls to Ms.

 Watkins’ Cellular Telephone.

        28.      Ms. Watkins knew that Defendant called Ms. Watkins’ Cellular Telephone

 using an ATDS because she heard a pause when she answered at least one of the first few

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 calls from Defendant on her Cellular Telephone before a live representative of Defendant

 came on the line.

        29.     Ms. Watkins knew that Defendant called Ms. Watkins’ Cellular Telephone

 using a prerecorded voice because Defendant left Ms. Watkins at least one voicemail

 using a prerecorded voice.

        30.     Defendant used an ATDS when it placed at least one call to Ms. Watkins’

 Cellular Telephone.

        31.     Under information and belief, Defendant used an ATDS when it placed at

 least ten calls to Ms. Watkins’ Cellular Telephone.

        32.     Under information and belief, Defendant used an ATDS when it placed at

 least twenty calls to Ms. Watkins’ Cellular Telephone.

        33.     Under information and belief, Defendant used an ATDS when it placed all

 calls to Ms. Watkins’ Cellular Telephone.

        34.     At least one call that Defendant placed to Ms. Watkins’ Cellular

 Telephone was made using a telephone dialing system that has the capacity to store

 telephone numbers to be called.

        35.     At least one call that Defendant placed to Ms. Watkins’ Cellular

 Telephone was made using a telephone dialing system that has the capacity to produce

 telephone numbers to be called without human intervention.

        36.     At least one call that Defendant placed to Ms. Watkins’ Cellular

 Telephone was made using a telephone dialing system that uses a random number

 generator.




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        37.     At least one call that Defendant placed to Ms. Watkins’ Cellular

 Telephone was made using a telephone dialing system that uses a sequential number

 generator.

        38.     At least one call that Defendant placed to Ms. Watkins’ Cellular

 Telephone was made using a prerecorded voice.

        39.     Defendant has recorded at least one conversation with Ms. Watkins.

        40.     Defendant has recorded more than one conversation with Ms. Watkins.

        41.     Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message to place call individuals to collect

 alleged debts from said individuals, such as Ms. Watkins, for its financial gain.

        42.     Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

 using such devices, just as it did to Ms. Watkins’ Cellular Telephone, with no way for the

 called party and recipient of the calls to permit, elect, or invoke the removal of the called

 party and recipient of the calls’ cellular telephone number from Defendant’s call list.

        43.     The structure of Defendant’s corporate policies and/or procedures permits

 the continuation of calls to individuals like Ms. Watkins, despite individuals like Ms.

 Watkins revoking any consent that Defendant believes it may have to place such calls.

        44.     Defendant knowingly employs methods and has corporate policies and

 procedures that do not permit the cessation or suppression of calls placed using an ATDS

 to individual’s cellular telephones, like the calls that it placed to Ms. Watkins’ Cellular

 Telephone.




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         45.      Defendant’s phone calls harmed Ms. Watkins by trespassing upon and

 interfering with Ms. Watkins’ rights and interests in her Cellular Telephone line.

         46.      Defendant’s phone calls harmed Ms. Watkins by causing her emotional

 distress.

         47.      Defendant’s phone calls harmed Ms. Watkins by wasting her time.

         48.      Defendant’s phone calls harmed Ms. Watkins by being a nuisance and

 causing her aggravation.

         49.      Defendant’s phone calls harmed Ms. Watkins by causing a risk of personal

 injury to Ms. Watkins due to interruption and distraction.

         50.      Defendant’s phone calls harmed Ms. Watkins by invading her privacy.

         51.      All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

               a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                  which allows for $500 in damages for each such violation;

               b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

               c. Awarding Plaintiff costs;

               d. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               e. Any other and further relief as this Court deems equitable.




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      Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

        52.      Ms. Watkins re-alleges paragraphs 1-20 and incorporates the same herein

 by reference.

        53.      Defendant violated the FCCPA. Defendant’s violations include, but are

 not limited to, the following:

              a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                 place calls to Ms. Watkins’ Cellular Telephone despite Ms.

                 Watkins’ repeated demands that Defendant cease its calls,

                 which can reasonably be expected to harass Ms. Watkins.

        54.      As a result of the above violations of the FCCPA, Ms. Watkins has been

 subjected to unwarranted and illegal collection activities and harassment for which she

 has been damaged.

        55.      Defendant’s actions have damaged Ms. Watkins by invading her privacy.

        56.      Defendant’s actions have damaged Ms. Watkins by causing her

 embarrassment.

        57.      Defendant’s actions have damaged Ms. Watkins by causing her stress.

        58.      Defendant’s actions have damaged Ms. Watkins by causing her

 aggravation.

        59.      It has been necessary for Ms. Watkins to retain the undersigned counsel to

 prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

        60.      All conditions precedent to this action have occurred.

        WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:


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               a. Awarding statutory damages as provided by §559.77, Fla. Stat.;

               b. Awarding actual damages;

               c. Awarding punitive damages;

               d. Awarding costs and attorneys’ fees;

               e. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               f. Any other and further relief as this Court deems equitable.

                                DEMAND FOR JURY TRIAL

     Plaintiff, CIERRA WATKINS, demands a trial by jury on all issues so triable.



  Respectfully submitted this September 24, 2018,

                                                        /s/ Michael A. Ziegler
                                                        Michael A. Ziegler, Esq.
                                                        Florida Bar No. 74864
                                                        mike@zieglerlawoffice.com

                                                        /s/ Kaelyn Steinkraus
                                                        Kaelyn Steinkraus, Esq.
                                                        Florida Bar No. 125132
                                                        kaelyn@zieglerlawoffice.com

                                                        Law Office of Michael A. Ziegler, P.L.
                                                        13575 58th Street North, Suite 129
                                                        Clearwater, FL 33760
                                                        (p) (727) 538-4188
                                                        (f) (727) 362-4778
                                                        Attorneys and Trial Counsel for Plaintiff




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